         Case 6:21-cv-01569-GAP-DCI Document 1-2 Filed 09/23/21 Page 1 of 1 PageID 10

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         MiddleDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                           Florida


          SHERRAINE FELDER, Individually                              )
        and on behlaf of others similarly situated                    )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No.
                                                                      )
            CHARLES SCHWAB & CO., INC.                                )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CHARLES SCHWAB & CO., INC.
                                           c/o CT Corporation System as Registred Agent
                                           1200 S. Pine Island Road
                                           Plantation, FL 33324




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Wolfgang M. Florin
                                           Florin Gray Bouzas Owens, LLC
                                           16524 Pointe Village Drive, Suite 100
                                           Lutz, FL 33558



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date:
                                                                                           Signature of Clerk or Deputy Clerk
